                                 OPINION
On October 23, 1989, appellee, Paul F. Cowoski, pleaded guilty to two counts of rape, aggravated felonies of the first degree, in violation of R.C. 2907.02. In a judgment entry filed on November 30, 1989, the Lake County Court of Common Pleas sentenced appellee to an indefinite term of incarceration of ten to twenty-five years on each count, the sentences to be served concurrently. In a judgment entry filed on July 1, 1997, the trial court dismissed proceedings to adjudicate appellee as a sexual predator under Ohio's version of Megan's Law, recently amended R.C. Chapter 2950, on the basis that the new statute is unconstitutional. Appellant, the State of Ohio, now appeals, asserting that R.C. Chapter 2950 is constitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
  Accordingly, the judgment of the trial court is affirmed. _______________________________ PRESIDING JUDGE DONALD R. FORD
NADER, J.,
O'NEILL, J., concur.